Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 1 of 12 PageID #: 16153




                 THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TEXAS
                         SHERMAN DIVISION
                                                                    MAX 2 9
 STEPHEN MATTHEW AVDEEF, § cl£rk, U.S. district cou i
                                             § STERN DISTRICT OF TEXAS
       Petitioner & Google Crime Victim §


 V                                    l
                                             § CaseNo. 4:20-CV-957-SDJ

                                             § Hon. SeanD. Jordan




 Google LLC. §

       Defendant. §

   PETITIONER AND GOOGLE CRIME VICTIM S AMENDED MOTION
    FOR SANCTIONS PURSUANT TO CRIMINAL RETALIATION TO
    FEDERAL MAGISTRATE, THE HONORABLE JUDGE DURRETT

       COMES NOW Petitioner and Google Crime Victim, STEPHEN

 MATTHEW AVDEEF, and files this Petitioner And Google Crime Victims

 Amended Motion For Sanctions Pursua t To Criminal Retaliation To Federal

 Magistrate, The Honorable Judge Durrett,' against Defendant, United States

 Government, DOD, and NSA Spying Contractor Google Inc., Alphabet Inc., and

 would respectfully show the Court as follows:


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Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 2 of 12 PageID #: 16154




        Material Facts of Federal and Global Acts of Criminal Retaliation

  1. Your Honor, if it pleases the court, Petitioner was just made aware of

  subsequent global acts of Federal Criminal Retaliation perpetrated by Google

  Books against Petitioner for the act of filing of the primary Motion For Sanctions,

  by friends and family who were concerned for Petitioners safety and in the interest

  of justice. This matter is serious enough to warrant this amendment notice in order

  to present this matter for consideration by this court.

  2. Pursuant to the fact that the aforementioned friends and family wholly

  expected to see Petitioners published works disappear off the face of the Earth,

  multiple participants noticed that all but two (2) literary reviews of the collected

  book reviews from 2006 until present, have suddenly and summarily vanished.

  This is a clear act of criminal retaliatory mini ization of the monetary and intrinsic

  value of the stolen property, clearly instituted in order devalue the demanded

  criminal restitution, and even Google partner LuLu press, has stripped all reviews.

  3. Unfortunately, Petitioner failed to properly anticipate this act of global

  diminish ent of value by such a pack of ruthlessly vindictive corporate bullies,

  who will apparently, through a preponderance of the material actions, will stop at

 nothing to destroy all detractors and crime victims. Petitioner at no time printed an

 Amazon, LuLu, or any other Google Book's sponsored retailer page that showed

  all of the literary reviews that collected over many previous years.



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Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 3 of 12 PageID #: 16155




  4. Instead, Petitioner can offer a far more succinct material evidence option, in

  the presentation of one of the reviewers themselves, in order to offer direct

  personal material evidence testimony to this court. The now deleted reviewer is a

  long-time family acquaintance who was trusted enough to even be provided a draft

  copy of the novel, 'The Last Bre th of Mars,' upon completion of the manuscript.

  5. The deleted reviewer is willing to speak with Your Honor via telephonic

  contact, pursuant to the fact of the fear of retaliation if the deleted reviewers name

  is allowed to be placed upon the court record with courtroom testimony. This fear

  is well justified, after the criminal material actions that have already taken place in

  order for Google and the Democratic National Party to suppress this matter at all

  costs, and this amended motion now proves as to just how devious the Defendant

  is, and the federal and global rale of law means absolutely nothing to the Global

  Socialist criminal empire, that is Defendant Google.

  6. Petitioner will now provide the personal contact information of the deleted

 reviewer in a 'personal and confidentiaT attachment to this amended motion for

 Your Honor's consideration. If in person testimony is required, then a court ordered

  subpoena will be needed, and an order to seal witness testimony from the official

  court record, in order to protect the personal safety of the material evidence

 witness. The following inclusive PDF pages from Amazon & LuLu now illustrates

 the retaliatory deletion and criminal level minimization of stolen Copyright.



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Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 4 of 12 PageID #: 16156




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      Customer reviews                                     The Last Breat Of Mars
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        Best Sellers in Books                                                                                                     Pj-,'C I l ¦




  This was in fact the very first review, and now only one (1) of two (2) remaining.


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Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 5 of 12 PageID #: 16157




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  Please note that is was 'relisted by the Publisher LuLu Press after the theft in 2011.


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Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 6 of 12 PageID #: 16158




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  The deleted reviewers only known global review after a 2006 publishing.


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Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 7 of 12 PageID #: 16159




  7. To add further retaliatory insult, even the previous reviews from United

  States Army soldiers who read the book illegally while stationed in Iraq on a

  Department of Defense server, that Google perjured themselves as to the existence

  of that material redistribution outlet to the Federal Court, now even the U.S. Army

  soldier s reviews have even been erased from history. One review always stood out

  for the scientific compliment of "this book is very well researched" which in fact,

  was always quite amusing to Petitioner, directly pursuant to the fact that no

  research was ever performed. The entire extremely detailed tale of a society set

  sixty-five million (65,000,000) years ago on Mars, with a civilization struggling to

  survive the atmosphere trickling away to space over the course of a decade and the

  brutal struggle to correct the catastrophe or escape the planet in facing a breathless

  fate (th s the title') was simply written off the cuff wholly out of Petitioner's head.

  8. The insult that now even reviews from military personnel are being

  diminished and concealed, is pursuant to the fact that Defendant Google lied not

  only about the Mars novel being Copyrighted, but even lied at first to the Federal

  Court that Google in fact ever possessed a PDF copy of the aforementioned novel.

  The wholly and disgustingly devious attack upon a forcibly created Pro Se litigant

  Author/Illustrator, was devised by then Google VP Drummond, who managed the

  Copyright Theft Scam in order to conceal the United States Military Contractor

  status of Defendant Google, by any lie necessary in order to avoid military charges.



                                              7
Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 8 of 12 PageID #: 16160




  9. The criminal perpetration of the Drummond 'Fraud Upon The Court' that

  was not fully exposed until after Defendant Google upheld the criminal theft scam

  through an extremely anti-Pro Se litigant bias Fifth Circuit Court of Appeals, was

  in turn found to be far more devastating than just giving away some free books and

  then lying their way out of it. What has yet to be presented to any Federal Court

  but has indeed been properly presented to the United States Government officials,

  General Nackasone at the NSA, who Defendant Google spies for, and the United

  States Pentagon, is the aftermath of the ruthlessly and concealed global crimes.

  The initial theft was revealed by one of Petitioner's at first Cub Scout, then Boy

  Scout, then U.S. Army Soldier stationed in Iraq, Bill White.

   10. What time has revealed, and what has led to the utterly complete criminal

  deprivation of the entire Copyright value of the theft subject, is the fact that the

  reason Defendant Google indeed lied about having possession of a 'Full Vieyv,'

  unclocked and unrestricted PDF that military personnel were permitted to read and

  download for FREE, is that Defendant Google showed utterly no corporate

  responsibility for the care and management of an Author's Copyrighted property.

  This is directly pursuant to the fact that Defendant Google has nefariously spent an

  astronomical amount in legal funds to destroy global Copyright that is seen as a

  monetary nuisance. Once members of the military rotated out, they flooded the

  global market with unclocked 'Full View' stolen PDF's that are now traded freely.



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Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 9 of 12 PageID #: 16161




   11. Now this court can clearly see as to the maliciously criminal reasoning

   behind destroying Petitioner at all costs. What Defendant Google clearly fears, is

   not just Petitioner continuing to hold such corporate Socialist thieves responsible

   for what they steal and hide around the planet, it is the domino effect of exposure.

   Once Defendant Google is finally held to account to a retaliation crime victim,

   then all of the lawyers and law firms that have kept in touch and that have been

   vehemently following this matter, will revisit each and every 'Fraud Upon The

   Court' scam that Defendant Google has perpetrated in order to protect all stolen

   materials, and to personally/professionally destroy any crime victim who threatens

   the status quo of ravenous corporate greed. Ironically, if any poor soul tramples on

   Google Copyright, then an entire building of corporate lawyers will lie, cheat &

   scheme to pummel anyone who threatens the trillion-dollar financial bottom end!

   12. Defendant Google has utterly absolute power over the global publishing

   industry through Google Books and thus Google has complete and improper

   autonomy to make or break any chosen Author/Illustrator, out of sheer corporate

   greed or legal corporate destructionism, if you dare cross such power hungry

   corporate monopoly bullies. By in fact stripping each and every reviewer of the

   Constitutionally protected opinion through Freedom of Speech, Google is in fact

   acting as a global tyrannical dictatorship that needs to be made an example out of

   in the fact that this level of federal & global criminal behavior will not be tolerated.



                                              9
Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 10 of 12 PageID #: 16162




                                Conclusion and Prayer

   13. Defendant Google has continually enjoyed complete criminal organized

   crime and government corruption protection from criminally abusive Democrats,

   and therefore even if Defendant Google VP Kent Walker did not know what the

   act of retaliation was going to be taking place from monitored contact, once VP

   Walker was served in Dec of 2023, that led to the retaliation murder of Toby

   Avdeef the very next day, VP Walker failing to speak or issue any sort of

   preemptive warning, makes Google just as complicit in the political assassination.

   14. Retaliation from the Google Global Criminal Empire should be immediately

   terminated by this court and thus Petitioner now pleads with this court to

   summarily grant the demanded complete fifty (50) year criminal restitution for the

   malicious and devious criminal deprivation of Petitioner's Copyright that was so

   nefariously suppressed in a United States Federal District Case through perjury,

   malicious concealment of material evidence, fraud, the hiring of a fake document

   expert, all leading to a spectacularly dishonest & abusive 'Fraud Upon The Court.'

   15. Therefore, Petitioner now pleads with this court to sanction Defendant

   Google LLC in the amount of eight-hundred and ninety-nine million, seventy¬

   thousand dollars, ($899,070,000.00) that will now in turn set a clear and concise

   example that global Copyright Theft, the criminal redistribution of stolen

   Copyright and stolen Intellectual Property, will not be tolerated by U.S. Courts.



                                            10
Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 11 of 12 PageID #: 16163




    16. Asa direct result of the seeking public s awareness in the name of truth and

   justice of the criminal global criminal empire that is Defendant Google in the name

   of the presentation of an 'Amic s Curie Brief, Petitioner is suffering deleted book

   listings and vanishing literary reviews in order that Defendant Google can brutally

   suppress the truth all around the planet and so that Petitioner can be in fact 'deleted'

   personally and professionally, just as when the Democrats blackballed artists back

   in the 1950s. It is now time that Defendant Google face that justice from this court.

    17. The David and Goliath struggle to overcome such a brutal global monster,

   that even Google Senior Litigation Specialist Shana Stanton condescendingly

   sneered about while violating a Federal Court Order in claiming that Ms. Stanton

   was not authorized to settle any litigation, should be seen as a cry from the dark.

   Petitioner is being globally 'cancelled1 and any and all supporters are being deleted

   around the planet in order to fabricate a fraudulent lack of value of globally

   published materials. Most literary listings are being minimized to only a single

   token review, or none at all, if in fact that particular book retailer is willing to defy

   the mighty empire run by Darth Walker. For example, the now only public listing

   of the aforementioned confidential material evidence witness reviewer, can only

   still be found on the retailer website, LuLu, and thus this is now material proof that

   the global review did indeed exist. Petitioner prays that the court will understand &

   sympathize with the witness s fear of murderous Defendant Google.



                                              11
Case 4:20-cv-00957-SDJ Document 509 Filed 05/29/24 Page 12 of 12 PageID #: 16164




                             CERTIFICATE OF SERVICE

    18. On or about Tuesday, May 28th, 2024, a true and correct copy of this motion

   will be electronically served upon Defendant Google and in turn will be served

   post filing by the Federal PACER System upon Plaintiff, The State of Texas by

   and through Texas Attorney General Ken Paxton, pursuant to the fact that

   Petitioner still has no direct electronic contact information for the Texas A.G.




   DATED this 25th day of May, 2024.




                                       Respectfully submitted,




                                       Stephen Matthew Avdeef P O SE
                                       Electron : Signature/Stephen Matthew Avdeef
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                                       E-Mail: sci writer@hotmail.com


   cc: President Donahue of The Hague, the E.U.I.P.O., The World Court of Justice,
   The DO J, FBI, Inspector General of the United States of America, U.S. Speaker of
   the House Mike Johnson, Se ator Jim Jordan, Senator Josh Hawley, Former
   Preside t The Honorable Donald J. Trump, Fox News Sean Hannity, and our
   Lo don Barrister, Attachment to the Impending United States Federal District
   Court Litigation Complaint, Attachment to the E.U.I.P.O. International IP and
   Copyright Theft Complaint, Attachment to Part Three of Three (3 of 3) of the
   requested World Court of Justice Internatio al Criminal Human Rights Violation
   Pleadin to The Hague

                                             12
